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   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10                                EASTERN DIVISION
  11
  12 JOSEPH DIAZ, JR.,                           Case No. 5:20-cv-02332-JWH-KK
  13               Plaintiff,                    DECLARATION OF DIYARI
                                                 VÁZQUEZ IN SUPPORT OF
  14        v.                                   PLAINTIFF’S OPPOSITION TO
                                                 DEFENDANT RALPH HEREDIA’S
  15 RALPH HEREDIA, true name                    MOTION FOR RELIEF FROM A
     RAFAEL HEREDIA TARANGO, a/k/a               JUDGMENT OR ORDER
  16 RAFAEL HEREDIA, a/k/a RAFAEL
     BUSTAMANTE; JOHN DOE, ESQ.;                 Date:          April 30, 2021
  17 and JANE DOES 1 through 20,                 Time:          9:00 a.m.
     inclusive,                                  Courtroom:     2
  18                                             Judge:         Hon. John W. Holcomb
                Defendants.
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                 VÁZQUEZ DECLARATION ISO PLAINTIFF’S OPPOSITION TO MOTION FOR RELIEF
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   1        I, Diyari Vázquez, hereby declare as follows:
   2        1.     I am an attorney duly licensed to practice law in the State of California
   3 and before this Court. I am the Head of Litigation of VGC, LLP, counsel of record for
   4 Plaintiff Joseph Diaz, Jr. I have personal knowledge of the following facts and, if
   5 called as a witness, I could and would testify competently with respect thereto.
   6        2.     Attached hereto as Exhibit A is a true and correct copy of email
   7 correspondence from March 2021 between counsel for Defendant and me concerning
   8 the L.R. 7-3 conference regarding Defendant’s motion to reconsider. On Sunday
   9 March 14, 2021, Mr. Montalvo’s assistant emailed to schedule a call “early in the
  10 week” to meet and confer regarding a Rule 60(b) motion. On March 16, I wrote that
  11 our team was available to meet and confer on the 17th or 18th at certain times. On
  12 March 16, Mr. Montalvo’s assistant replied and stated: “Unfortunately the proposed
  13 times do not work. We are instead proposing Thursday, March 18th at 4:00 PM EST.”
  14 The telephonic conference was held on that day and time.
  15        3.     Attached hereto as Exhibit B is a true and correct copy of a PDF printout
  16 of the web address http://www.linkedin.com/in/rajandhungana (printed March 26,
  17 2021 and last accessed April 8, 2021). The web page is the LinkedIn profile for Mr.
  18 Rajan Dungana, local counsel for Plaintiff in this case. Underneath a picture of Mr.
  19 Dungana on p. 1 it states “Attorney at Sahara Legal Group Reno, Nevada.” Under
  20 “experience” on p. 2, the web page states that Mr. Dungana has worked at the Sahara
  21 Legal Group in “Reno, Nevada Area” from “March 2014 – present.” Mr. Dungana’s
  22 web page does not contain any reference to the Federal Practice Group.
  23        4.     Attached here as Exhibit C is a true and correct copy of a PDF printout
  24 of the web address https://fedpractice.com/meet_our_team/rajan-o-dhungana/ (printed
  25 March 26, 2021 and last accessed April 8, 2021). The page lists Mr. Dhungana as a
  26 Partner at the Federal Practice Group and states that Mr. Dhungana “has been
  27 practicing primarily in immigration law.”
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   1         5.     Attached here as Exhibit D is a true and correct copy of a PDF printout
   2 of the web address https://fedpractice.com/our-people (printed March 26, 2021 and last
   3 accessed April 8, 2021). The page shows Mr. Montalvo to be a “founding partner” of
   4 the Federal Practice Group. On Page 6, it states that the address for the Federal Practice
   5 Group is 1750 K Street, NW 9th Floor, Washington, DC 20006.
   6         6.     Attached here as Exhibit E is a true and correct copy of email
   7 correspondence from November and December 2020 between my office and the
   8 Federal Practice Group. I was copied on this email correspondence. On November
   9 16, 2020, my colleague wrote to Mr. Dhungana regarding Mr. Dhungana filing a notice
  10 of removal to federal court prior to the service of his client: “As a member of the
  11 California State Bar (though your office is in Nevada), I trust you are familiar with the
  12 rules governing acceptance of service by counsel who has appeared on behalf of a party
  13 in litigation.” Mr. Dhungana responded and stated that: “I am happy to accept service
  14 on the client’s behalf, via email or postal mail. Rajon O. Dhungana, Sahara Law
  15 Group, 7320 S Rainbow Blvd., STE 102-360. Las Vegas, Nevada 89139.”
  16         7.     Attached here as Exhibit F is a true and correct copy of Dkt. 16, the
  17 Application of Non-Resident Attorney in a Specific Case Pro Hac Vice filed by
  18 Defendant in this case. On December 23, 2020, Eric Montalvo certified under penalty
  19 of perjury that: “I am familiar with the Court’s Local Civil and Criminal Rules ….”
  20 Mr. Montalvo further certified that: “I designate the attorney listed in Section III below,
  21 who is a member in good standing of the Bar of this Court and maintains an office in
  22 the Central District of California for the practice of law, in which the attorney is
  23 physically present on a regular basis to conduct business, as local counsel pursuant
  24 to Local Rule 82.-2.1.3.4.” (emphasis added). On Page 3, Mr. Dhungana declared
  25 under penalty of perjury that “I maintain an office in the Central District of California
  26 for the practice of law, in which I am physically present on a regular basis to conduct
  27 business.”
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   1         8.      Attached hereto as Exhibit G is a printout from the web page for the
   2 California State Bar (printed March 26, 2021 and last accessed April 8, 2021). The
   3 printout shows the attorney profile for Mr. Dhungana. The address listed for Mr.
   4 Dhungana is Federal Practice Group, 1750 St NW, Ste 900, Washington, DC 20006-
   5 2317.
   6         9.      At my direction, an attorney at my firm searched Google in attempts to
   7 find an office address for the Federal Practice Group or Mr. Dhungana in California.
   8 The attorney was unable to find any office address for either in California.
   9         10.     Plaintiff’s attorneys’ fees have nearly doubled after having to prepare and
  10 file an opposition to Defendant’s improperly filed motion to compel arbitration and
  11 now this motion for reconsideration.
  12         11.     Defense counsel dismissed VGC, LLP from the matter of Heredia v. MTK
  13 Global Sports Management, LLC, et. al., Case No. 5:20-cv-02618-JWH-KK (C.D. Cal.
  14 2020), following VGC, LLP’s correspondence threatening Rule 11 sanctions (which
  15 resulted in a First Amended Complaint) and an anti-SLAPP motion. VCG, LLP was
  16 forced to retain its own counsel, spend time, and incur expenses in order to protect
  17 itself from Defendant’s allegations in Heredia, which were designed to chill VGC,
  18 LLP’s right to practice law and thwart Mr. Diaz’s fundamental right of access to the
  19 courts with his counsel of choice.
  20         I declare under penalty of perjury under the laws of the United States of America
  21 that the foregoing is true and correct.
  22         Executed April 9, 2021 in Santa Monica, California.
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  25                                                           /s/ Diyari Vázquez
  26                                                              Diyari Vázquez

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                   VÁZQUEZ DECLARATION ISO PLAINTIFF’S OPPOSITION TO MOTION FOR RELIEF
